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                      Exhibit A
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                IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION




  Midwest Leasing of Illinois,                   )   No. 23 B 04510
                                                 )   Chicago, Illinois
                                                 )   10:00 a.m.
                             Debtor.             )   June 14, 2023



                TRANSCRIPT OF PROCEEDINGS BEFORE THE
                       HONORABLE JANET S. BAER



  APPEARANCES:
  Chapter 7 Trustee:                       Ms. Deborah Ebner;
  For the Debtor:                          Mr. Lester Ottenheimer;
  For Presence Central &
  Suburban Hospitals
  Network:                                 Mr. Sven Nylen;




  Court Reporter:                          Amy Doolin, CSR, RPR
                                           U.S. Courthouse
                                           219 South Dearborn
                                           Room 661
                                           Chicago, IL 60604.
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1                            THE CLERK:        Midwest Leasing of
2      Illinois, LLC.
3                            MR. OTTENHEIMER:          Good morning, Your
4      Honor.        Les Ottenheimer on behalf of the debtor.
5                            MR. NYLEN:        Good morning, Your Honor.
6      Sven Nylen on behalf of Presence Central & Suburban
7      Hospitals Network.
8                            MS. EBNER:        Good morning, Judge.
9      Debbie Ebner, trustee.
10                           THE COURT:        Good morning.        I have
11     before me a motion to dismiss the debtor filed by
12     Presence Central & Suburban Hospitals, which appears
13     to be the only creditor of merit in this case.                        And I
14     did see a notice of objection was filed by the
15     debtor.        I'm going to just turn to Ms. Ebner first.
16                           Ms. Ebner, what's your position on
17     this matter?
18                           MS. EBNER:        Strangely, I support the
19     motion to dismiss.            I don't see a basis for this
20     bankruptcy filing.            It's really a -- after doing some
21     digging, it really is a one-creditor case.                      I had
22     extensive discussions with the creditor, Presence,
23     about using the bankruptcy forum to administer the
24     estate.        But, in essence, by continuing the
25     bankruptcy, the only thing that would be accomplished
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1      is to create an administrative creditor, i.e., me,
2      and my attorney, in front of the -- with priority
3      over the creditor who is seeking to dismiss the case.
4      So it really is kind of pointless.
5                            THE COURT:        I appreciate that, Ms.
6      Ebner.        I actually asked you that because I thought
7      that might be what you said because that was my
8      conclusion, too.
9                            Mr. Ottenheimer, I don't see what your
10     response could be.
11                           MR. OTTENHEIMER:          Well, when I read
12     the motion, the motion seemed to indicate that the
13     case should be dismissed because there's no assets
14     for creditors and because they want to pursue a
15     co-debtor.        And I'm -- Your Honor knows there's been
16     many, many cases that are filed that are no assets.
17     And there's nothing that precludes a creditor from
18     going after the co-debtor.
19                           THE COURT:        You know, I don't really
20     care at this point about the co-debtor.                     I mean, the
21     fact of the matter is that I've got a case that the
22     one creditor who is really concerned here doesn't
23     believe that it needs a bankruptcy estate to
24     administer the assets to make sure they don't go
25     south of whatever it happens to be, so I just don't
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1      see why we need a bankruptcy case.
2                            MR. OTTENHEIMER:          Judge, I'd like to
3      talk to my client and maybe not oppose the motion if
4      I could get a little bit of time to do that.
5                            THE COURT:        All right.       I'll set a
6      response date for you.             How much time do you want?
7                            MR. OTTENHEIMER:          I need 28 days, Your
8      Honor.        I've got two trials coming up in the next
9      three weeks.
10                           THE COURT:        Okay.     So that will take
11     you to July 12.
12                           Ms. Ebner, I'll give you the
13     opportunity or -- I'm sorry, Mr. Nylen really is the
14     one I would expect -- I'll give you an opportunity to
15     file a reply if you need to.                You kind of know my
16     position on this issue.              And I will be interested to
17     see if Mr. Ottenheimer comes up with something we
18     don't know about that would convince me otherwise.
19                           So I'll give you the time to file the
20     reply, but I'm not requiring you to do so.                      But I
21     will set 14 days to file a reply, which will take us
22     to the 26th of July.             And I'll put this on for status
23     and ruling -- assuming Mr. Ottenheimer is still going
24     to pursue this matter and oppose the motion, I'll put
25     it on for August 2nd at 10:00 o'clock.
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1                           MR. OTTENHEIMER:          Thank you, Your
2      Honor.
3                           MS. EBNER:        Your Honor, if I may?            If
4      Mr. Ottenheimer ultimately agrees that this case
5      should be dismissed, if he could notify everyone and
6      Your Honor also so we could avoid another use of
7      judicial time.
8                           MR. OTTENHEIMER:          Absolutely.          That
9      makes perfect sense.
10                          THE COURT:        Yeah, I would greatly
11     appreciate that, especially if I don't have to read
12     briefs I don't otherwise have to read.
13                          MR. OTTENHEIMER:          Correctest.
14                          THE COURT:        Okay.     Thank you.
15                          (Which were all the proceedings had in
16                          the above-entitled cause, June 14,
17                          2023, 10:00 a.m.)
18 I, AMY B. DOOLIN, CSR, RPR, DO HEREBY CERTIFY
   THAT THE FOREGOING IS A TRUE AND ACCURATE
19 TRANSCRIPT OF PROCEEDINGS HAD IN THE ABOVE-
   ENTITLED CAUSE. /S/
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